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   OF HAWAII, INC. and ROMMEL GUZMAN

                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

  ATOOI ALOHA, LLC, an Nevada               )   CIVIL NO. 16-00347 JMS RLP
  Limited Liability Company, et al.         )
                                            )   CERTIFICATE OF SERVICE
                       Plaintiffs,          )
                                            )
           vs.                              )
                                            )
  ABNER GAURINO, et al.                     )
                                            )
                       Defendants.          )
                                            )

                              CERTIFICATE OF SERVICE

           The undersigned hereby certifies that service of a copy of 1) DEFENDANT

  FIDELITY NATIONAL TITLE & ESCROW OF HAWAII, INC.’S FIRST

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  REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFF ATOOI

  ALOHA, LLC; 2) DEFENDANT FIDELITY NATIONAL TITLE & ESCROW

  OF HAWAII, INC.’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

  TO PLAINTIFF CRAIG B. STANLEY, INDIVIDUALLY AND AS TRUSTEE

  FOR THE EDMOND KELLER AND CLEAVETTE MAE STANLEY FAMILY

  TRUST; and 3) DEFENDANT FIDELITY NATIONAL TITLE & ESCROW OF

  HAWAII, INC.’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO

  PLAINTIFF MILLICENT ANDRADE, dated September 9, 2017, will be duly

  served on September 12, 2017 on the following parties by United States mail,

  postage prepaid:

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